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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:12cr221-MHT
MARK ALLAN VINSON                  )          (WO)


                        OPINION AND ORDER

    This cause is before the court on defendant Mark

Allan Vinson’s oral motion to continue made on October

16, 2013, in an on-the-record telephone conference.                     The

government does not oppose the request.              For the reasons

set forth below, the court finds that jury selection and

trial, now set for November 18, 2013, should be continued

pursuant to 18 U.S.C. § 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.       The Act provides in part:

          "In any case in which a plea of not
          guilty is entered, the trial of a
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            defendant charged in an information or
            indictment with the commission of an
            offense shall commence within seventy
            days from the filing date (and making
            public)    of   the    information    or
            indictment, or from the date the
            defendant has appeared before a judicial
            officer of the court in which such
            charge is pending, whichever date last
            occurs."

18 U.S.C. § 3161(c)(1).           The Act excludes from the 70-day

period any continuance based on “findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”     § 3161(h)(7)(A).       In granting a continuance, the

court may consider, among other factors, whether the

failure to grant the continuance would “result in a

miscarriage        of    justice,"       §    3161(h)(7)(B)(i),            or

“[w]hether the case is so unusual or so complex ... that

it   is    unreasonable      to    expect    adequate      preparation”

without granting a continuance.              § 3161(h)(7)(B)(ii).

      The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Vinson in a speedy trial.                      The

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court    has    ordered    that      Vinson      be     psychologically

evaluated to determine whether he is competent to stand

trial.    The court has directed that the psychological

report be filed with the court on or before November 29,

2013.    Because the report will not be available until

after the current trial date of November 18, 2013, a

continuance in this matter is appropriate.

                                   ***

    Accordingly, it is ORDERED as follows:

    (1) The oral motion to continue made by defendant

          Mark Allan Vinson on October 16, 2013 (doc. no.

          229), is granted.

    (2) The     jury    selection        and    trial    for   defendant

          Vinson, now set for November 18, 2013, is reset

          for    January     27,     2014,      at     10:00   a.m.,     in

          Courtroom     2FMJ    of   the       Frank    M.   Johnson    Jr.

          United States Courthouse Complex, One Church

          Street, Montgomery, Alabama.

    DONE, this the 17th day of October, 2013.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
